           Case 1:17-vv-00199-UNJ Document 35 Filed 02/02/18 Page 1 of 2




         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-199V
                                     Filed: August 17, 2017
                                         UNPUBLISHED


    MARGARET STEPHEN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                       Causation-In-Fact; Pneumococcal
                                                             Conjugate Vaccine; Shoulder Injury
    SECRETARY OF HEALTH AND                                  Related to Vaccine Administration
    HUMAN SERVICES,                                          (SIRVA)

                       Respondent.


Amber D. Wilson, Maglio Christopher and Toale, PC, Washington, DC, for petitioner.
Kathryn A. Robinette, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
      On February 10, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered pain in her left arm resulting from a
pneumococcal vaccination (Prevnar 13) received on June 8, 2015. Pet. at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.
       On August 16, 2017, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Resp.’s R. 4(c) Rept. at 1.
Specifically, respondent “believes that petitioner’s alleged injury is consistent with a
shoulder injury related to vaccine administration (“SIRVA”) and that it was caused-in-
fact by the pneumococcal vaccine she received on June 8, 2015. Id. at 4. Respondent

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:17-vv-00199-UNJ Document 35 Filed 02/02/18 Page 2 of 2



further agrees that no other causes for petitioner’s SIRVA were identified, that petitioner
has met the statutory requirements by suffering the condition for more than six months,
and therefore that petitioner has satisfied all legal prerequisites for compensation under
the Vaccine Act. Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.


IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
